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 8                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WASHINGTON
 9                                           AT SEATTLE

10
     UNITED STATES OF AMERICA,
11
                            Plaintiff,
12
                                                                   CASE NO. CR06-428 MJP
            v.
13
                                                                   DETENTION ORDER
     GERARDO GARCIA-ALGANDAR,
14
                            Defendant.
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     Offense charged:
17
            Count I - Conspiracy to Distribute Heroin and Cocaine
18
     Date of Detention Hearing: 12/07/06
19
            The court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and based
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     upon the factual findings and statement of reasons for detention hereafter set forth, finds that no
21
     condition or combination of conditions which defendant can meet will reasonably assure the
22
     appearance of defendant as required and the safety of any other person and the community.
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     DETENTION ORDER - 1
26   18 U.S.C. § 3142(i)
         Case 2:06-cr-00428-MJP          Document 19        Filed 12/08/06      Page 2 of 3



 1               FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

 2         (1)     The drug offense with which defendant is charged in Count I carries a maximum

 3                 penalty of twenty years of imprisonment. There is therefore a rebuttable presumption

 4                 that defendant will be detained.

 5         (2)     Nothing has been presented to rebut that presumption.

 6         (3)     Defendant is reportedly a citizen of Mexico.

 7         (4)     The United States alleges that his presence in this country is illegal. There is an

 8                 immigration detainer pending against him. The issue of detention in this case is

 9                 therefore essentially moot.

10         (5)     Defendant and his counsel offered nothing in opposition to the entry of an order of

11                 detention.

12         (6)     Defendant declined to be interviewed by this court’s Pretrial Services Officer.

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14   It is therefore ORDERED:

15         (1)     Defendant shall be detained pending trial and committed to the custody of the Attorney

16                 General for confinement in a corrections facility separate, to the extent practicable,

17                 from persons awaiting or serving sentences or being held in custody pending appeal;

18         (2)     Defendant shall be afforded reasonable opportunity for private consultation with

19                 counsel;

20         (3)     On order of a court of the United States or on request of an attorney for the

21                 Government, the person in charge of the corrections facility in which defendant is

22                 confined shall deliver the defendant to a United States Marshal for the purpose of an

23                 appearance in connection with a court proceeding; and

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     DETENTION ORDER - 2
26   18 U.S.C. § 3142(i)
        Case 2:06-cr-00428-MJP        Document 19        Filed 12/08/06      Page 3 of 3



 1        (4)   The clerk shall direct copies of this order to counsel for the United States, to counsel

 2              for the defendant, to the United States Marshal, and to the United States Pretrial

 3              Services Officer.

 4        DATED this 8th day of December, 2006.

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                                                         /s/John L. Weinberg
 6                                                     JOHN L. WEINBERG
                                                       United States Magistrate Judge
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     DETENTION ORDER - 3
26   18 U.S.C. § 3142(i)
